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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MARYLAND


 Justin Mills                                   CASE NO.: 8:15-cv-495 RDB

 Plaintiff
 v.

 Anne Arundel County Maryland, et al.

 Defendants


                                 ENTRY OF APPEARANCE

        To the Clerk of the Court:

        Please ENTER the appearance of Michelle J. Marzullo of Marks, O’Neill, O’Brien,

Doherty & Kelly, P.C. on behalf of Defendant PPE Casino Resorts Maryland, LLC (t/n

Maryland Live! Casino) in the above-captioned matter.

Respectfully submitted,

                                                    MARKS, O’NEILL, O’BRIEN
                                                        DOHERTY & KELLY, P.C.


                                                      /s/ Michelle J. Marzullo
                                                    Michelle J. Marzullo
                                                    Patricia H. Beall
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                                                    Attorney for Defendant, PPE Casino
                                                    Resorts Maryland, LLC (t/n Maryland Live!
                                                    Casino)




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of June, 2016, a copy of the foregoing Substitution of

Counsel was electronically transmitted or mailed first class, postage pre-paid to:

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                                                      __/s/ ___________________________
                                                      Patricia H. Beall




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